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                 Exhibit 2
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<!Certificate of <!Completion
                           Bruno Cua
 Has successfully completed 29 course hours in the following subject:


             Math 101: College Algebra

                               January 13th 2021
                              DATE OF COMPLE.TION




                                                         ® Study.com·
                                         CERTIFICATE VERIFICATION : 36b23c16-d8fa-444b-ac99-b1 e5dd90c34c
        Case 1:21-cr-00107-RDM Document 11-2 Filed 02/26/21 Page 3 of 4




<!ertifirate of <!ompletion
                           Bruno Cua
 Has successfully comp leted 39 course hours in the following subject:


  Government 101: Intro to Government

                              January 18th 2021
                              DATE OF COMPLETION




                                                        ® study.com·
                                        CERTIFICATE VERIFICATION: c8208a4b-b508-4e84-a296-7a409724347c
        Case 1:21-cr-00107-RDM Document 11-2 Filed 02/26/21 Page 4 of 4




<ttrtifitatt of <tomplttion
                           Bruno Cua
 Has successfully completed 27 course hours in the following subject:


                      Intro to Marketing

                               January 26th 2021
                               DATE OF COMPLETION




                                                         ® Study.com·
                                         CERTIFICATE VERIFICATION : 290e336e-99c7-46ff-9a84-223ad74e21 aS



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